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                                          #:2407


 11| UNITED STATES DISTRICT COURT
 21| CENTRAL DISTRICT OF CALIFORNIA
 3         II         *      *       *          *

 4|| UNITED STATES OF AMERICA, )
                                            )
 51| Plaintiff, )
 61 ) CASE NO. 2:24-CR-00091-ODW
                                            )
 I                              )
 g I ALEXANDER SMIRNOV, )
                                            )


101 _)
 91 Defendant, ) [PROPOSED] ORDER


11 Upon reviewing Defendant's Motion for leave to file Unredacted Sentencing
12 I
       Memorandum in Mitigation of Punishment including Exhibits 1-2 UNDER SEAL,

141| it is hereby ORDERED that said Motion is GRANTED.

151| IT IS HEREBY ORDERED Defendant's Unredacted Sentencing
16 I
       Memorandum in Mitigation of Punishment including Exhibits 1-2 shall be filed and

18| remain UNDER SEAL.

191 IT IS SO ORDERED.
20 I
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22|
             DATE HONORABLE OTIS D. WRIGHT II
23 || UNITED STATES DISTRICT JUDGE
24|
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26 I
27 I
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